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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BRENDA CORE,                                          )
on behalf of herself and a class,                     )
                                                      )
                       Plaintiff,                     )
                                                      )
               v.                                     )
                                                      )
BRADLEY WINGS, LLC d/b/a                              )
BUFFALO WILD WINGS                                    )
DOES 1-5,                                             )
                                                      )
                       Defendants.                    )

                               COMPLAINT – CLASS ACTION

                                        INTRODUCTION

               1.      Plaintiff Brenda Core brings this action to secure redress for defendant’s

violations of the Electronic Funds Transfer Act, 15 U.S.C. §1693 et seq. (“EFTA”), and

implementing Federal Reserve Board Regulation E, 12 C.F.R. part 205.

                                    JURISDICTION AND VENUE

               2.      This Court has jurisdiction under 28 U.S.C. §§1331 and 1337 and 15

U.S.C. §1693m (EFTA).

               3.      Venue in this District is proper in that defendant does business in this

District.

                                            PARTIES

               4.      Plaintiff Brenda Core is an individual who resides in Bourbonnais,

Illinois.

               5.      Defendant Bradley Wings, LLC d/b/a Buffalo Wild Wings is a limited

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liability company which operates a restaurant at 2012 North State Route 50, Bourbonnais,

Illinois 60914. Its registered agent and office is Bradley J. Fralich, 15308 Jillian Ct., Orland

Park, Illinois 60467. Defendant’s registered agent and office is located in this District.

               6.      Defendant Bradley Wings, LLC operates an automated teller machine

(“ATM”) at its location at 2012 North State Route 50, Bourbonnais, Illinois 60914.

               7.      Defendants Does 1-5 are any other entities or persons responsible for the

operation of the ATM at the above location.

                                                FACTS

               8.      Within one year prior to the filing of this action, plaintiff conducted an

electronic funds transfer at the ATM operated by Bradley Wings, LLC at 2012 North State Route

50, Bourbonnais, Illinois 60914.

               9.      Any transaction carried out through an ATM is governed by EFTA. The

EFTA, 15 U.S.C. §1693a, provides:

               . . . (6) the term "electronic fund transfer" means any transfer of funds,
               other than a transaction originated by check, draft, or similar paper
               instrument, which is initiated through an electronic terminal, telephonic
               instrument, or computer or magnetic tape so as to order, instruct, or
               authorize a financial institution to debit or credit an account. Such term
               includes, but is not limited to, point-of-sale transfers, automated teller
               machine transactions . . . .

               10.     Plaintiff was charged a fee by the ATM. A redacted copy of the receipt

issued to plaintiff is attached as Exhibit A.

               11.     No notice stating that a fee would or may be charged was posted at or near

the ATM. Photographs of the ATM are attached as Exhibit B.




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                                  VIOLATION ALLEGED

              12.     Bradley Wings, LLC failed to notify the public, as required by law, that

they will be required to pay a fee each time they use the ATM.

              13.     The EFTA, 15 U.S.C. §1693b, provides:

              Regulations

              (a) Prescription by Board. The Board shall prescribe regulations to carry
              out the purposes of this title [15 USCS § § 1693 et seq.]. . . .

              (d) Applicability to service providers other than certain financial institutions.

                        (1) In general. If electronic fund transfer services are made
                      available to consumers by a person other than a financial institution
                      holding a consumer's account, the Board shall by regulation assure
                      that the disclosures, protections, responsibilities, and remedies
                      created by this title [15 USCS § § 1693 et seq.] are made applicable to
                      such persons and services. . . .

                       (3) Fee disclosures at automated teller machines.

                                (A) In general. The regulations prescribed under
                             paragraph (1) shall require any automated teller machine
                             operator who imposes a fee on any consumer for providing
                             host transfer services to such consumer to provide notice in
                             accordance with subparagraph (B) to the consumer (at the
                             time the service is provided) of –

                                          (i) the fact that a fee is imposed by such operator
                                     for providing the service; and

                                          (ii) the amount of any such fee.

                                 (B) Notice requirements.

                                          (i) On the machine. The notice required under
                                     clause (i) of subparagraph (A) with respect to any fee
                                     described in such subparagraph shall be posted in a
                                     prominent and conspicuous location on or at the
                                     automated teller machine at which the electronic fund
                                     transfer is initiated by the consumer.

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                                 (ii) On the screen. The notice required under
                           clauses (i) and (ii) of subparagraph (A) with respect to
                           any fee described in such subparagraph shall appear on
                           the screen of the automated teller machine, or on a
                           paper notice issued from such machine, after the
                           transaction is initiated and before the consumer is
                           irrevocably committed to completing the transaction,
                           except that during the period beginning on the date of
                           the enactment of the Gramm-Leach-Bliley Act [enacted
                           Nov. 12, 1999] and ending on December 31, 2004, this
                           clause shall not apply to any automated teller machine
                           that lacks the technical capability to disclose the notice
                           on the screen or to issue a paper notice after the
                           transaction is initiated and before the consumer is
                           irrevocably committed to completing the transaction.

                       (C) Prohibition on fees not properly disclosed and explicitly
                    assumed by consumer. No fee may be imposed by any
                    automated teller machine operator in connection with any
                    electronic fund transfer initiated by a consumer for which a
                    notice is required under subparagraph (A), unless–

                                (i) the consumer receives such notice in
                           accordance with subparagraph (B); and

                                (ii) the consumer elects to continue in the manner
                           necessary to effect the transaction after receiving such
                           notice.

                        (D) Definitions. For purposes of this paragraph, the
                    following definitions shall apply:

                                (i) Automated teller machine operator. The term
                           "automated teller machine operator" means any person
                           who–

                                            (I) operates an automated teller
                                     machine at which consumers initiate
                                     electronic fund transfers; and

                                            (II) is not the financial institution that
                                     holds the account of such consumer from
                                     which the transfer is made.


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                                  (ii) Electronic fund transfer. The term "electronic
                            fund transfer" includes a transaction that involves a
                            balance inquiry initiated by a consumer in the same
                            manner as an electronic fund transfer, whether or not
                            the consumer initiates a transfer of funds in the course
                            of the transaction.

                                 (iii) Host transfer services. The term "host
                            transfer services" means any electronic fund transfer
                            made by an automated teller machine operator in
                            connection with a transaction initiated by a consumer at
                            an automated teller machine operated by such operator.

       14.    Regulation E, 12 C.F.R. § 205.16, provides:

       Disclosures at automated teller machines.

          (a) Definition. Automated teller machine operator means any person that
       operates an automated teller machine at which a consumer initiates an
       electronic fund transfer or a balance inquiry and that does not hold the
       account to or from which the transfer is made, or about which an inquiry is
       made.

       (b) General. An automated teller machine operator that imposes a fee on a
       consumer for initiating an electronic fund transfer or a balance inquiry
       shall:
              (1) Provide notice that a fee will be imposed for providing electronic
              fund transfer services or a balance inquiry; and
              (2) Disclose the amount of the fee.
       (c) Notice requirement. To meet the requirements of paragraph (b) of this
       section, an automated teller machine operator must comply with the
       following:

              (1) On the machine. Post in a prominent and conspicuous location on
              or at the automated teller machine a notice that:

                     (i) A fee will be imposed for providing electronic fund transfer
                     services or for a balance inquiry; or
                     (ii) A fee may be imposed for providing electronic fund
                     transfer services or for a balance inquiry, but the notice in this
                     paragraph (c)(1)(ii) may be substituted for the notice in
                     paragraph (c)(1)(i) only if there are circumstances under


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                                which a fee will not be imposed for such services; and

                      (2) Screen or paper notice. Provide the notice required by paragraphs
                      (b)(1) and (b)(2) of this section either by showing it on the screen of
                      the automated teller machine or by providing it on paper, before the
                      consumer is committed to paying a fee. . . .

              (e) Imposition of fee. An automated teller machine operator may impose a
              fee on a consumer for initiating an electronic fund transfer or a balance
              inquiry only if
                      (1) The consumer is provided the notices required under paragraph
                      (c) of this section, and
                      (2) The consumer elects to continue the transaction or inquiry after
                      receiving such notices.

              15.     Bradley Wings, LLC did not post a notice on or at its ATM that complied

with 12 C.F.R. §205.16(c)(1).

              16.     The imposition of the charge is unlawful.

              17.     The EFTA, 15 U.S.C. §1693m, provides:

              Civil liability

              (a) Individual or class action for damages; amount of award. Except as
              otherwise provided by this section and section 910 [15 USCS § 1693h], any
              person who fails to comply with any provision of this title [15 USCS § § 1693
              et seq.] with respect to any consumer, except for an error resolved in
              accordance with section 908 [15 USCS § 1693f], is liable to such consumer in
              an amount equal to the sum of--

                        (1) any actual damage sustained by such consumer as a result of
                      such failure;

                       (2) (A) in the case of an individual action, an amount not less than $
                      100 nor greater than $ 1,000; or

                                    (B) in the case of a class action, such amount as the court
                                may allow, except that (i) as to each member of the class no
                                minimum recovery shall be applicable, and (ii) the total
                                recovery under this subparagraph in any class action or series
                                of class actions arising out of the same failure to comply by the

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                                same person shall not be more than the lesser of $ 500,000 or 1
                                per centum of the net worth of the defendant; and

                          (3) in the case of any successful action to enforce the foregoing
                        liability, the costs of the action, together with a reasonable attorney's
                        fee as determined by the court.

                (b) Factors determining amount of award. In determining the amount of
                liability in any action under subsection (a), the court shall consider, among
                other relevant factors--

                          (1) in any individual action under subsection (a)(2)(A), the
                        frequency and persistence of noncompliance, the nature of such
                        noncompliance, and the extent to which the noncompliance was
                        intentional; or

                          (2) in any class action under subsection (a)(2)(B), the frequency and
                        persistence of noncompliance, the nature of such noncompliance, the
                        resources of the defendant, the number of persons adversely affected,
                        and the extent to which the noncompliance was intentional.

                . . . (g) Jurisdiction of courts; time for maintenance of action. Without
                regard to the amount in controversy, any action under this section may be
                brought in any United States district court, or in any other court of
                competent jurisdiction, within one year from the date of the occurrence of
                the violation.

                                      CLASS ALLEGATIONS

                18.     This claim is brought on behalf of a class, consisting of (a) all persons

who used the ATM at 2012 North State Route 50, Bourbonnais, Illinois 60914, (b) and were

charged a fee (c) during a period beginning one year prior to the filing of this action and ending

20 days after the filing of this action.

                19.     The class is so numerous that joinder of all members is impracticable.

                20.    On information and belief, there are more than 50 persons who used the

ATM at 2012 North State Route 50, Bourbonnais, Illinois 60914, and were charged a fee, during

a period beginning one year prior to the filing of this action and ending 20 days after the filing of

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this action.

               21.     There are questions of law and fact common to the class, which questions

predominate over any questions affecting only individual class members. The predominant

common question is whether defendant’s ATM was posted with the notices required by law.

               22.     Plaintiff’s claims are typical of the claims of the class members. All are

based on the same legal and factual issues.

               23.     Plaintiff will fairly and adequately represent the members of the class.

Plaintiff has retained counsel experienced in the prosecution of consumer credit claims and class

actions.

               24.     A class action is superior for the fair and efficient prosecution of this

litigation. Classwide liability is essential to cause defendant to stop its improper conduct.

Many class members may be unaware that they have been victims of illegal conduct.

               WHEREFORE, plaintiff requests that the Court enter judgment in plaintiff’s favor

and in favor of the class for:

                       a.        Appropriate compensatory and statutory damages;

                       b.        Attorney’s fees, litigation expenses and costs of suit;

                       c.        Such other or further relief as is appropriate.



                                                   s/Daniel A. Edelman
                                                   Daniel A. Edelman




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                                   NOTICE OF LIEN AND ASSIGNMENT

              Please be advised that we claim a lien upon any recovery herein for 1/3 or such
amount as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                                s/Daniel A. Edelman
                                                Daniel A. Edelman


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